Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 1 of 25

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION
Ana E. Medina Eckart
Plaintiff, Civil Action File #

¥.

 

Allstate Northbrook Indemnity
Company,
JURY TRIAL DEMANDED

ee” Nee Nee” See” Nee ee See” Nee” ee”

Defendant.
COMPLAINT FOR DAMAGES
Now comes Ana Eckart, the Plaintiff in the above-styled civil action,
and presents her Complaint for Damages against Defendant Allstate
Northbrook Indemnity Company as follows:
JURISDICTION AND VENUE
1.

This case arises under the civil enforcement provisions of the
Racketeer Influenced and Corrupt Organizations Act at 18 USCA §1961 et.
seq. and the civil enforcement provisions of the Georgia Racketeer
Influenced and Corrupt Organizations Act at O.C.G.A. §16-14-1 et seq.
Plaintiff also asserts claims arising under the laws of the State of Georgia

for fraudulent inducement to enter a contract and for recission of the

contract based upon fraudulent inducement.

1

 

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 2 of 25

This Court has subject matter jurisdiction of this action by virtue of a
cause of action arising under federal law pursuant to 28 USCA §1331 and by
virtue of diversity of citizenship pursuant to 28 USCA §1332(c)(1).

3. |

The same transactions and occurrences giving rise to the Plaintiffs’
claims under civil RICO also give rise to pendant causes of action arising
under the laws of the State of Georgia including violation of Georgia
Racketeer Influenced and Corrupt Organizations Act, fraud and breach of
contract. This Court has supplemental subject matter jurisdiction over
these claims pursuant to 28 U.S.C.A. § 1367(a).

4.
The Plaintiff hereby subjects herself to the jurisdiction of this court.
5,

Defendant Alistate Northbrook Indemnity Company is a business
corporation formed under the laws of the State of Illinois with its principal
place of business in that state. This Defendant conducts significant business
in the State of Georgia and it entered both contracts relevant to this action in

the State of Georgia: the contract of automobile insurance that the Defendant

 

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 3 of 25

entered with its insured, Crista Ballew and the settlement contract entered

with Ms. Eckart.

6.
Defendant Allstate may be served with process upon its registered
agent in the State of Georgia: Linda Banks, c/o CT Corporation System,

289 S. Culver Street, Lawrenceville, Gwinnett County, Georgia 30046-

4805.

7.
Venue is proper in this Court under 28 USCA §1391.
FACTS
8.

A motor vehicle collision occurred on January 8, 2020 inside the City
of Cartersville, Georgia on Ga. Highway 61 at its intersection with Fite
Street. The collision involved an automobile driven by the Plaintiff, Ms.
Eckart and a vehicle driven by Crista Ballew.

9.

Ms. Eckart sustained personal injuries in the collision and she

incurred medical and related expenses, lost wages, pain and suffering as a

result of her injuries. The collision and Ms. Eckart’s resulting injuries and

 

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 4 of 25

damages were the sole, direct and proximate result of the negligence of
Crista Ballew.
10.

At the time of the collision, Ms. Ballew was insured under an

automobile liability insurance policy issued by Defendant Allstate.
11.

Ms. Eckart communicated by telephone and email with insurance
adjusters who were the employees and agents of Allstate about her claims
against insured Ballew resulting from the motor vehicle collision, and
about her claims against Allstate by virtue of the language of its automobile
liability policy insuring Ms. Ballew.

12.

In telephone and email communications during the early part of
2021, Allstate adjuster, employee and agent Dwalyn Roberts — on behalf of
Defendant Allstate — offered to settle all of Ms. Eckart’s claims against the
insured and insurer.

13.

Specifically, Roberts and Defendant Allstate agreed to pay Ms.

Eckart $16,378.00 in settlement of all of her claims arising from the

collision. As consideration for the $16,378.00 settlement amount to be

 

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 5 of 25

paid to her, Defendant Allstate and Roberts required Ms. Eckart to execute
a “Release of All Claims” document that Allstate and Roberts drafted and
provided to her. Allstate and Roberts promised to pay the $16,378.00
amount only after they received Ms. Eckart’s executed release agreement.
Ms. Eckert accepted the settlement offer,

14,

To conclude the settlement process, on February 1, 2021 Roberts and
Defendant Allstate sent an email to Ms. Eckart with two attachments, one
was a letter discussing the terms of the settlement, the other was the release
that Ms. Eckart was required to execute so that Allstate and Roberts would
forward the settlement funds to her,

15.

The letter Robert and Allstate attached contained some vague,
confusing and perhaps even contradictory language; Roberts and the
Defendant purposefully drafted the letter in this manner as a part of its
fraudulent scheme and artifice described below. Nonetheless, in the letter
Roberts and Defendant Allstate acknowledged that they had valued Ms.
Eckart’s claim at the promised settlement amount of $16,378.00, and they

provided a monetary breakdown to demonstrate their reasoning in arriving

 

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 6 of 25

at that settlement amount. In the letter, Allstate and Roberts also
referenced its payment of “the amount of money noted in the release.”
16.
The release document Allstate and Roberts emailed to Ms. Eckart

memorialized the terms of the settlement agreement between these parties.

Under the express terms of the release agreement, Allstate agree to pay Ms.

Eckart $16,378.00 in full settlement of all of her claims against Ms. Ballew

and Allstate arising from the collision. The release agreement required Ms.

Eckart to satisfy her medical debts and liens from the settlement amount
paid to her.
17.

As per the terms of the settlement agreement, Ms. Eckart reasonably
relied upon Allstate’s promise to pay her $16,378.00, she executed the
Release of All Claims document that Allstate and Roberts provided her,
and she emailed the executed document to Allstate on February 3, 2021,
thereby releasing all of her claims against Ms. Ballew and Allstate arising
from the collision, Upon delivery of the executed release to Allstate, Ms.
Eckart fulfilled her duty to Allstate under the terms of the contract of

settlement.

 

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 7 of 25

18.

On February 4, 2021, only after receipt of the executed release,
Roberts and Defendant Allstate sent another email to Ms. Eckart. Into this
email, Roberts and Allstate drafted some nonsense, but in relevant part
notified Ms. Eckart that she would not receive the promised settlement
check in the amount of $16,378.00; rather they would send her a check in
the amount of $3,782.50. Roberts and Allstate then instructed Ms. Eckart
to pay all but $560.00 of that amount to her medical providers.

19,

Allstate drafted the $3,782.00 check on February 4, 2021 and mailed

it to Ms. Eckart through the U.S. Postal Service on February 5, 2021.
20.

Despite the express terms of the settlement agreement, and at the
time that Allstate made the settlement offer, it had no intention,
whatsoever, of actually paying the $16,378.00 settlement amount to Ms.
Eckart. The false promise to pay that amount was made pursuant to a
fraudulent scheme and artifice to induce Ms. Eckart to execute and tender
the Release of All Claims document to Allstate, while paying Ms. Eckart
only a small fraction of the promised and agreed upon $16,378.00

settlement amount.

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 8 of 25

21.

The ultimate result of this fraudulent scheme and artifice is that
Allstate unlawfully retained $12,595.50 of the total $16,378.00 agreed
upon settlement amount and which amount is the property of Ms. Eckart.

22.

In the foregoing, Allstate and Roberts took advantage of Ms. Eckart
because she did not have counsel, she was inexperienced and
unsophisticated in the settlement of insurance claims and because she was
significantly limited in her ability to communicate in English.

23.

Upon information and belief, Defendant Allstate, through its

officers, directors, management personnel and employees has in place

policies, procedures, protocols and/or customs pursuant to which it

routinely enters into firm, binding settlement agreements with those injured

as a result of its insureds’ negligence, then upon receipt of the releases
from the injured claimants, the Defendant insurer through its employees
and agents forwards settlement checks to those persons in amounts far
below the agreed upon settlement amounts, thereby illegally retaining the

claimants’ funds.

 

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 9 of 25

24,

Upon information and belief, in addition to the foregoing, Defendant
Allstate has fully acquiesced in and ratified the illegal and fraudulent -
conduct of its employees, servants and agents that is described above.

25,

Defendant Allstate has reaped significant financial benefits from the

illegal and fraudulent schemes described above.
26,

Upon receipt of the reduced settlement check, Ms. Eckart (through
_ undersigned counsel) immediately notified Defendant Allstate, in writing,
of her intent to rescind the contract of settlement, she demanded that
Allstate immediately agree to recission of the Release of All Claims
contract. Ms. Eckart also immediately tendered the $3,782.00 settlement
check back to Allstate. Allstate did not respond to the communique.

27,

Allstate is on timely notice of Plaintiff's rescission of the fraudulently

induced contract entered with the Defendant insurer in settlement of the

underlying negligence claims against Defendant Ballew.

 

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 10 of 25

COUNT I — Racketeer Influenced Corrupt Organizations Act at 18 USCA
$1961 et. seq.
28.

The Plaintiff incorporates by reference the contents of this entire
complaint as if fully set out herein.

29.

Allstate, Roberts and its various officers, directors, management and
non-management personnel who were involved in the criminal and
fraudulent schemes described herein are “persons” as defined in 18 USCA
§1961(3). Defendant Allstate and its employees who were involved in the
criminal and fraudulent schemes described herein are “enterprises” as
defined in 18 USCA §1961(4).

30.

As more fully set out above, upon information and belief, Allstate
through its officers, directors, management personnel and other employees
developed and implemented a criminal and fraudulent scheme pursuant to
which it would offer to settle claims of unsophisticated injured parties
against its insureds for sums certain, require those claimants to first fully
comply with the terms of the settlement agreements by return of executed

releases, and then use various fraudulent schemes and artifices to justify

10

 

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 11 of 25

sending payment to the claimants in amounts less than the contracted
settlement amounts.
31.

Through implementation of this scheme, Allstate would illegally
withhold for its sole use and benefit funds that were the lawful property of
the claimants; thereby Allstate enjoyed significant financial benefits as a
result of this criminal and fraudulent scheme,

32.

Upon information and belief, Allstate and its employees have
employed this criminal and fraudulent scheme against more than one
victim on more than one occasion.

33.

Allstate and its employees communicated with their victims by means
of telephone and emails sent over wires across state lines in furtherance of
their criminal and fraudulent schemes. Allstate and its employees sent items
to its victims via the U.S. Postal Service in furtherance of its criminal and
fraudulent schemes.

34,
Allstate’s use of the telephone and email over the wires and across

state lines to communicate with its victims in furtherance of its criminal

11

 

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 12 of 25

and fraudulent schemes, as in this case, constitutes wire fraud in violation
of 18 USCA $1343.
35,

Allstate’s use of the U.S. Postal Service to mail items to its victims
in furtherance of its criminal and fraudulent schemes, as in this case,
constitutes mail fraud in violation of 18 USCA 81341.

36,

Violations of 18 USCA §§1341 and 1343 are predicate acts
constituting “racketeering activities” as that term is defined under 18
USCA §1961(1). As Allstate and its employees have conducted this
criminal and fraudulent conduct on more than one occasion against more
than one victim, their unlawful conduct constitutes a “pattern of
racketeering activity” as that term is defined under 18 USCA §1961(5).

37.

In the foregoing conduct, Allstate received income derived from a
pattern of racketeering activity and it used that income and/or the proceeds
of such income in the operation of an enterprise engaged in interstate
commerce. Allstate and its employees described above, through a pattern
of racketeering activity directly and/or indirectly maintained control of an

enterprise engaged in interstate commerce.

12

 

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 13 of 25

38.

By virtue of the foregoing, Defendant Allstate has been directly and
indirectly involved in criminal and fraudulent conduct in violation of the
Racketeer Influenced and Corrupt Organizations Act pursuant to 18 USCA
§1962(a) and (b).

39,

Pursuant to its policy and custom of criminal and fraudulent conduct
described above, Defendant Allstate and the individuals entered into a
contract of settlement with Ms. Eckart whereby the insurer agreed to pay
Ms. Eckart $16,378.00 in full settlement of all of her claims arising from a
motor vehicle accident caused by the negligence of its insured.

AO,

At no time did Allstate and the individuals intend to pay Ms. Eckart
$16,378.00. Rather, Allstate and the others employed a scheme and artifice
to reduce the $16,378.00 contract amount to a net sum of $560.00 to be
paid to Ms. Eckart. Through this false promise, scheme and artifice,
Allstate induced Ms. Eckart to enter the settlement agreement thereby
relinquishing her right to pursue just compensation and her right to be

made whole with respect to the damages she suffered from the motor

13

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 14 of 25

vehicle collision, and Allstate illegally withheld some $12,595.50 which is
the property of Ms. Eckart.
41.

Ms. Eckart was therefore injured in her property as a victim of the
Defendants and the other individuals’ criminal and fraudulent conduct in
violation of RICO,

42.

By virtue of the foregoing, Defendant Allstate is directly and
vicariously liable to Plaintiff Eckart, and under 18 USCA §1964 she is
thereby entitled to an award of compensatory damages against the

Defendant in an amount to be trebled by operation of law.

COUNT Hi — Racketeer Influenced Corrupt Organizations Act at
O.C.G.A. §16-14-1 et seq.
43.
The Plaintiff incorporates by reference the contents of this entire
complaint as if fully set out herein.
44,

Allstate is an “enterprise” as defined in OCGA §16-14-3(5)(A).

14

 

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 15 of 25

45,

As more fully set out above, upon information and belief, Allstate
through its officers, directors, management personnel and other employees
developed and implemented a criminal and fraudulent scheme pursuant to
which it would offer to settle claims of unsophisticated injured parties
against its insureds for sums certain, require those claimants to first fully
comply with the terms of the settlement agreements by return of executed
releases, and then use various fraudulent schemes and artifices to justify
sending payment to the claimants in amounts less than the contracted
settlement amounts.

46.

Allstate through its officers, directors, management and non-
management employees acting within the scope of their employment
authorized, requested, commanded, performed, recklessly tolerated,
acquiesced in and ratified the criminal and fraudulent conduct described
above.

47,

Upon information and belief, Allstate and its employees have

employed this criminal and fraudulent scheme against more than one

victim on more than one occasion.

15

 

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 16 of 25

48,

Through implementation of this scheme, Allstate would illegally
withhold for its sole use and benefit funds that were the lawful property of
the claimants; thereby Allstate enjoyed significant financial benefits as a
result of this criminal and fraudulent scheme.

49,

Pursuant to that criminal and fraudulent scheme, as more fully set
out above, Defendant Allstate entered into a contract of settlement with
Ms. Eckart whereby the insurer agreed to pay Ms. Eckart $16,378.00 in full
settlement of all of her claims arising from a motor vehicle accident caused
by the negligence of its insured.

50.

At no time did Allstate intend to pay Ms. Eckart $16,378.00. Rather,
Allstate employed its routine scheme and artifice to reduce the $16,378.00
contract amount to a net sum of $560.00 to be paid to Ms. Eckart. Through
this false promise, scheme and artifice, Allstate induced Ms. Eckart to enter
the settlement agreement thereby relinquishing her right to pursue just
compensation, and her right to be made whole with respect to the damages
she suffered from the motor vehicle collision, and it illegally withheld

some $12,595.50 which is the property of Ms. Eckart.

16

 

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 17 of 25

31,

Allstate’s unlawful conduct constitutes theft by taking pursuant to

O0.C.G.A. §16-8-3 and theft by conversion pursuant to OCGA §16-8-4.
52.

Theft by taking and theft by conversion are “racketeering activities”
pursuant to OCGA §16-14-3(5)(A)(xii). By engaging in at least two acts of
racketeering activity in furtherance of this scheme and artifice and for the
purpose of unlawfully appropriating the funds belonging to those entering
settlement contracts, Allstate by and through its employees engaged in a
“pattern of racketeering activity” pursuant to OCGA §3-14-3(4)(A).

53.

In these actions, Allstate by and through its employees intentionally,
directly and unlawfully withheld and maintained money belonging to
injured claimants through a pattern of racketeering activity in violation of
OCGA §16-14-4(a). In these actions, Allstate’s employees conducted and
participated in the enterprise through a pattern of racketeering activity in

violation of OCGA §16-14-4(b).

17

 

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 18 of 25

54,

Allstate enjoyed significant financial benefits, and Ms. Eckart was
directly, financially harmed by Allstate’s criminal and fraudulent conduct
described above.

55.

Based on the foregoing, Ms. Eckart is entitled to an award of special,
general and punitive damages against Defendant Allstate. And said
damages are trebled by operation of law. OCGA §16-14-6.

56, |

Ms. Eckart is also entitled to an award of attorney’s fees, as well as
the costs of litigation and investigation against Defendant Allstate pursuant
to OCGA$16-14-6.

57.

Allstate is directly liable and vicariously liable for the criminal and

fraudulent conduct of its employees by application of the doctrine of

respondeat superior.

18

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 19 of 25

COUNT III - Claim of fraud in the inducement against Defendant Allstate
58.

The Plaintiff incorporates by reference the contents of this entire
complaint as if fully set out herein.

59.

Defendant Allstate entered into a contract of settlement with Ms.
Eckart — the terms of which are memorialized in its Release of All Claims
document Allstate provided to Ms. Eckart -- whereby the insurer agreed to
pay Ms. Eckart $16,378.00 in full settlement of all claims. The exact
details of the fraudulent scheme are fully set out in paragraphs 12-19 of this |
complaint which are hereby incorporated into this paragraph and Count.

60.

At all relevant times, Allstate had no intention of paying Ms. Eckart
$16,378.00. Allstate had a clear intent to deceive Ms. Eckart by promising
to pay the false amount to her in settlement of her claims, and Allstate did
so to induce Ms. Eckhart to sign the Release of All Claims document and
thereby extinguish all her claims against Defendant Allstate and its insured.

61.
Ms. Eckart justifiably relied upon Defendant Allstate’s

representation that it would pay her the full contractually agreed upon

19

 

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 20 of 25

settlement amount and she therefore executed Allstate’s “Release of All
Claims” document and tendered it to Allstate thereby extinguishing all of
her claims against both Allstate and its insured, Ballew.

62.

Allstate’s conduct constitutes actual fraud in the inducement in that 1)
the Defendant insurer had no intention to pay the contracted settlement
amount from the outset and 2) the insurer misrepresented to Ms. Eckart an
existing material fact — that it was paying the contracted settlement amount
—to induce Ms. Eckart to enter the contract of settlement.

63.

Upon information and belief, Allstate’s wrongful conduct described
herein was pursuant to the Defendant insurer’s normal course of business
and normal practices which dictated the course of its fraudulent conduct at
and before its pursuit of the contract of settlement in this case.

64.

As a result of Allstate’s intentional fraudulent conduct, Ms. Eckart is
now left with no recourse to be justly compensated and made whole for the
damages that she sustained in the above-described motor vehicle collision.

She has been rendered angry, humiliated, embarrassed, tricked, defrauded,

20

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 21 of 25

shamed, upset, worried, uncertain and she has suffered a host of other
harms as a result of by Defendant Allstate’s intentional fraudulent conduct.
65.

As a result of the foregoing, the Plaintiff is entitled to as award of -
special damages in an amount to fully compensate her for all of the
damages she sustained in the subject motor vehicle accident, general
damages for her wounded feelings resulting from the fraud as described
above, and an award of punitive damages for Allstate’s intentional
fraudulent conduct.

66.

The Plaintiff is also entitled to an award of attorney’s fees and

expenses of litigation based on Defendant Allstate’s intentional fraudulent

conduct as provided by Georgia law.

COUNT Hl — Recission of the settlement contract/Release of All Claims

 

67.
The Plaintiff incorporates by reference the contents of this entire

complaint as if fully set out herein.

21

 

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 22 of 25

68.

Defendant Allstate entered into a contract of settlement with Ms.
Eckart -- the terms of which are memorialized in its Release of All Claims
document Allstate provided to Ms, Eckart — whereby the insurer agreed to
pay Ms. Eckart $16,378.00 in full settlement of all claims. The exact
details of the fraudulent scheme are fully set out in paragraphs 12-19 of this
complaint which are hereby incorporated into this paragraph and Count.

69.

At all relevant times, Allstate had no intention of paying Ms. Eckart
$16,378.00. Allstate had a clear intent to deceive Ms. Eckart by offering to
pay the false amount to her in settlement of her claims, and Allstate did so
to induce Ms. Eckhart to sign the Release of All Claims document and
thereby extinguish all her claims against Allstate and its insured.

70.

Allstate’s conduct constitutes actual fraud in the inducement in that
1) it had no intention to pay the contracted settlement amount from the
outset and 2) it misrepresented to Ms. Eckart an existing material fact — that
it was paying the contracted settlement amount — to induce Ms. Eckart to
enter the contract of settlement. The contract is therefore rendered

voidable under Georgia law.

22

 

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 23 of 25

71,

Upon receipt of the reduced settlement check, Ms. Eckart (through
undersigned counsel) immediately notified Defendant Allstate, in writing,
of her intent to rescind the contract of settlement, she demanded that
Allstate immediately agree to the recission of the Release of All Claims
document. Ms. Eckart also immediately tendered the $3,782.00 settlement
check back to Allstate.

72.

Defendant Allstate has not responded in any way to that
communication at this time.

73.

Based on the foregoing, the Plaintiff is entitled to this Court’s order
that the contract of settlement entered between these Parties, as
memorialized in the fraudulently induced Settlement of All Claims
document, is rescinded.

WHEREFORE, the Plaintiff prays for the following:

a) That service of process be had upon the Defendant,

b) That this case be tried before a jury of no less than 6 fair and

impartial jurors;

23

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 24 of 25

c) That Plaintiff be awarded compensatory damages against
Defendant for federal RICO violations in an amount to
compensate her for her for all monetary losses sustained as a
result of said conduct and that the amount be trebled by operation
of law;

d) That Plaintiff be awarded special damages against Defendant for
fraud and Georgia RICO violations in an amount to compensate
her for her for all monetary losses sustained as a result of said
conduct;

e) That the Plaintiff be awarded general damages against Defendant
for fraud and Georgia RICO violations in an amount to be
determined by the enlightened conscience of fair and impartial
jurors;

f) That Plaintiff be awarded punitive damages against Defendant for
fraud and RICO violations in an amount to be determined by the
Jury;

g) That Plaintiff be awarded her attorney’s fees, litigation and
investigation costs as provided by Georgia law,

h) That the Jury’s awards under Georgia RICO be trebled as

provided by Georgia law;

24

 
Case 1:22-cv-00281-JPB Document1 Filed 01/24/22 Page 25 of 25

i} That the Court issue its order rescinding the settlement
contract/Release of All Claims previously entered by parties,

j) That the Plaintiffbe granted all other relief that the Court deems
appropriate.

This Ad day of January, 2022

Perrotta, Lamb & Johnson, LLC

Nos lps W i Saw
Robert W, Lamb a
Georgia Bar Number: 631650

222 East Main Street

Cartersville, Georgia 30120
(770) 382-8900

25

 

 
